                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  COLUMBIA DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      CASE NO. 1-11-00010
                                                    )      JUDGE SHARP
ROBERT PICKLE                                       )
                                                    )


                                           ORDER


         Pending before the Court is Defendant Pickle’s Motion to Continue Plea (Docket No. 71)

to which the Governement does not oppose.

         The motion is GRANTED, and the hearing on a plea of guilty scheduled for August 13,

2012 is hereby continued to Monday, August 20, 2012 at 3:00 p.m.

         It is so ORDERED.


                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




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